
By the Court.
— We think that the nature of the debt ought to have been set out in the state of demand — whether for money lent, goods sold and delivered, [*] work and labor, or whatever was the foufidation of the debt The circumstances that took place at the trial, shew the propriety of it; we cannot judge of the legality of the testimony admitted by the justice, unless we can perceive on the record, the issue between the parties. That a man should go into a court, and say that the defendant is indebted to him 828, and then produce a receipt from the defendant to another person for that sum, and also prove that a judgment between the plaintiff and a stranger, had been reversed in a superior court, appears too loose a proceeding; we cannot collect from this record, the right of the plaintiff below, to recover.
Judgment reversed.
